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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

ROSEMARIE CURZIO FARELLA,                      )
                                               )
      Plaintiff,                               )
                                               )
      v.                                       )       No. 8:24-cv-01653
                                               )
BLACKWELL RECOVERY D/B/A                       )
CONCORD SERVICING CORPORATION                  )
                                               )
      Defendant.                               )

                                PLAINTIFF’S COMPLAINT

      Plaintiff, ROSEMARIE CURZIO FARELLA (“Plaintiff”), through her attorney,

Hormozdi Law Firm, LLC, alleges the following against Defendant, BLACKWELL RECOVERY

D/B/A CONCORD SERVICING CORPORATION (“Defendant”):

                                      INTRODUCTION

   1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

      U.S.C. § 1692 et seq. (“FDCPA”).

   2. Count II of Plaintiff’s Complaint is based on the Florida Consumer Collection Practices

      Act, Fla. Stat. § 559.72 (“FCCPA”).

                               JURISDICTION AND VENUE

   3. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, 1367, and 15 U.S.C. § 1692k

      (FDCPA).

   4. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

   5. 28 U.S.C. § 1367 grants this court supplemental jurisdiction over the state claims contained
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      within.

   6. Venue and personal jurisdiction in this District are proper because Defendant does or

      transacts business within this District, and a material portion of the events at issue occurred

      in this District.

                                           PARTIES

   7. Plaintiff is a natural person residing in the City of Tampa, Hillsborough County, State of

      Florida.

   8. Plaintiff is a consumer as that term is defined by the FDCPA and the FCCPA.

   9. Plaintiff allegedly owes a debt as that term is defined by the FDCPA and the FCCPA.

   10. Defendant is a debt collector as that term is defined by the FDCPA and the FCCPA.

   11. Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.

   12. Defendant is a collection agency located in the City of Scottsdale, Maricopa County, State

      of Arizona.

   13. Defendant is a business entity engaged in the collection of debt within the State of Florida.

   14. Defendant’s business includes, but is not limited to, collecting on unpaid, outstanding

      account balances.

   15. When an unpaid, outstanding account is placed with Defendant it is assigned a file number.

   16. The principal purpose of Defendant’s business is the collection of debts allegedly owed to

      third parties.

   17. Defendant regularly collects, or attempts to collect, debts allegedly owed to third parties.

   18. During the course of its attempts to collect debts allegedly owed to third parties, Defendant

      sends to alleged debtors bills, statements, and/or other correspondence, via the mail and/or

      electronic mail, and initiates contact with alleged debtors via various means of

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      telecommunication, such as by telephone and facsimile.

   19. Defendant acted through its agents, employees, officers, members, directors, heirs,

      successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                 FACTUAL ALLEGATIONS

   20. Defendant is attempting to collect a consumer debt from Plaintiff originating from a

      timeshare account with Legacy Vacation Resorts.

   21. Plaintiff’s alleged debt owed arises from transactions for personal, family, and household

      purposes.

   22. At all times relevant hereto, Legacy Vacation Resorts owned the alleged debt.

   23. At all times relevant hereto, Blackwell Recovery was engaged by Legacy Vacation Resorts

      to collect the alleged debt.

   24. Within the last year, Defendant began calling Plaintiff’s personal cellular telephone at xxx-

      xxx-6617 in an attempt to collect the alleged debt.

   25. Defendant calls Plaintiff from 866-493-6393 in an attempt to collect the alleged debt,

      which is one of Defendants’ telephone numbers.

   26. On or around September 18, 2023, Plaintiff answered Defendant’s call and spoke with one

      of Defendant’s collectors.

   27. During the above-mentioned conversation:

          a. Defendant’s collector advised it was attempting to collect a debt originating from

              Legacy Vacation Resorts owed by Plaintiff’s husband.

          b. Plaintiff disputed the debt Defendant was attempting to collect by advising

              Defendant’s collector she was not her husband and therefore did not owe the

              alleged debt.

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          c. Despite the forgoing, Defendant’s collector insisted Plaintiff owed the debt and

              that she was her husband.

          d. Plaintiff requested that Defendant stop calling her.

   28. Despite the foregoing, Defendant continued to call Plaintiff unabated, including within

      seven days of the aforementioned conversation.

   29. Plaintiff answered numerous of Defendant’s collection calls, and continued to request that

      Defendant stop calling her.

   30. Despite the foregoing, Defendant continued to call Plaintiff unabated.

   31. On October 05, 2023, Plaintiff’s attorney sent Defendant Cease-and-Desist

      correspondence to Defendant in which Plaintiff’s attorney notified Defendant that counsel

      represented Plaintiff and requested that Defendant stop calling Plaintiff.

   32. Despite the foregoing, Defendant’s collector continued to call Plaintiff unabated,

      including but not limited to on December 18, 2023.

   33. Within the last year, Defendant left the following voicemail message on Plaintiff’s

      telephone:

          a. “Hi this is Oscar Jimenez calling from Blackwell Recovery please contact me or

              any of the company representatives at 480-214-0994. Thank you.”

   34. Defendant is or should be familiar with the FDCPA.

   35. Defendant’s collectors know or should know that the FDCPA prohibits continued calls to

      consumers when the collector knows the consumer is represented by counsel.

   36. Defendant’s collectors know or should know that the FDCPA requires disclosing to

      debtors that the debt collector is attempting to collect a debt and any information will be

      used for that purpose.

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   37. The natural consequences of Defendant’s statements and actions was to produce an

      unpleasant and/or hostile situation between Defendant and Plaintiff.

   38. The natural consequences of Defendant’s statements and actions was to cause Plaintiff

      mental distress.

   39. Defendant employed the foregoing debt collection tactics in an attempt to coerce Plaintiff

      into making payment to Defendant.

   40. Defendant’s above-referenced conduct further affected Plaintiff in a personal and

      individualized way by causing Plaintiff to experience anger, stress, worry, frustration,

      embarrassment, and emotional distress.

                            COUNT I
   DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

   41. Plaintiff repeats and re-alleges paragraphs 1-40 of Plaintiff’s Complaint as the allegations

      in Count I of Plaintiff’s Complaint.

   42. Defendant violated the FDCPA based on the following:

          a. Defendant violated § 1692c(a)(2) of the FDCPA by communicating with the

              consumer if the debt collector knows the consumer is represented by an attorney

              with respect to the debt when Defendant called Plaintiff despite receiving counsel’s

              cease and desist letter;

          b. Defendant violated § 1692d of the FDCPA by engaging in conduct that the natural

              consequence of which was to harass, oppress, and abuse in connection with the

              collection of an alleged debt, when Defendant continued to call Plaintiff despite

              her requests that Defendant stop calling, when Defendant called Plaintiff within 7

              days of having a conversation with her about the alleged debt, and when Defendant

              attempted to contact Plaintiff after receiving Cease-and-Desist correspondence
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           from Plaintiff’s attorney;

        c. Defendant violated § 1692d(5) of the FDCPA by causing a telephone to ring or

           engaging any person in telephone conversation repeatedly or continuously with

           intent to annoy, abuse, or harass any person at the called number, when Defendant

           continued to call Plaintiff despite her requests that Defendant stop calling, when

           Defendant called Plaintiff within 7 days of having a conversation with her about

           the alleged debt, and when Defendant attempted to contact Plaintiff after receiving

           Cease-and-Desist correspondence from Plaintiff’s attorney;

        d. Defendant violated § 1692e of the FDCPA by its use of any false, deceptive, or

           misleading representation or means in connection with the collection of any debt,

           when Defendant created the false impression on Plaintiff that Defendant was

           permitted to call Plaintiff with impunity despite Plaintiff’s request for Defendant to

           stop calling her, and when Defendant engaged in engaged in, at least, the following

           discrete violations of § 1692e;

        e. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in the initial

           written communication with        the consumer and,     in     addition,     if      the

           initial communication with        the consumer is     oral,    in     that        initial

           oral communication, that the debt collector is attempting to collect a debt and that

           any information obtained will be used for that purpose, and failing to disclose in

           subsequent communications that the communication is from a debt collector,

           when Defendant left a voicemail on Plaintiff’s telephone and failed to include the

           aforementioned disclosure;

        f. Defendant violated § 1692f of the FDCPA by using fair or unconscionable means

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              in connection with the collection of an alleged debt, when Defendant engaged in

              the foregoing conduct.

          g. Defendant violated section 1006.14 of Regulation F (12 CFR 1006.14) by placing

              a telephone call to a particular person in connection with the collection of a

              particular debt within a period of seven consecutive days after having had a

              telephone conversation with the person in connection with the collection of such

              debt, when Defendant spoke with Plaintiff about the debt on September 18, 2023,

              and called her in connection with the collection of the same debt multiple times in

              the same week thereafter.

      WHEREFORE, Plaintiff, ROSEMARIE CURZIO FARELLA, respectfully requests

judgment be entered against Defendant, BLACKWELL RECOVERY D/B/A CONCORD

SERVICING CORPORATION, for the following:

   43. Actual damages, to be determined at trial;

   44. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. § 1692k;

   45. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

      15 U.S.C. § 1692k; and

   46. Any other relief that this Honorable Court deems appropriate.

                                COUNT II
                         DEFENDANT VIOLATED THE
               FLORIDA CONSUMER COLLECTION PRACTICES ACT

   47. Plaintiff repeats and re-alleges paragraphs 1-40 of Plaintiff’s Complaint as the allegations

      in Count II of Plaintiff’s Complaint.

   48. Defendant violated the FCCPA based on the following:

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          a. Defendant violated §559.72(7) of the FCCPA by willfully communicate with the

              debtor or any member of her or his family with such frequency as can reasonably

              be expected to harass the debtor or her or his family, or willfully engage in other

              conduct which can reasonably be expected to abuse or harass the debtor or any

              member of her or his family, when Defendant continued to call Plaintiff despite

              her requests that Defendant stop calling, when Defendant called Plaintiff within 7

              days of having a conversation with her about the alleged debt, and when Defendant

              attempted to contact Plaintiff after receiving Cease-and-Desist correspondence

              from Plaintiff’s attorney;

          b. Defendant violated §559.72(18) of the FCCPA by communicating with a debtor

              knowing that the debtor is represented by an attorney with respect to such debt

              when    Defendant     called   Plaintiff     despite   receiving   Cease-and-Desist

              correspondence from Plaintiff’s attorney.

      WHEREFORE, Plaintiff, ROSEMARIE CURZIO FARELLA, respectfully requests

judgment be entered against Defendant, BLACKWELL RECOVERY D/B/A CONCORD

SERVICING CORPORATION, for the following:

   49. Actual damages, to be determined at trial;

   50. Statutory damages of $1,000.00 pursuant to the Florida Consumer Collection Practices

      Act, Fla. Stat. § 559.77;

   51. Costs and reasonable attorneys’ fees pursuant to the Florida Consumer Collection

      Practices Act, Fla. Stat. § 559.77;




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   52. Punitive damages and equitable relief, including enjoining Defendant from further

      violations, pursuant to Florida Consumer Collection Practices Act, Fla. Stat. § 559.77(2);

      and

   53. Any other relief that this Honorable Court deems appropriate.



RESPECTFULLY SUBMITTED,


DATED: July 11, 2024                   By:          /s/ Shireen Hormozdi Bowman__
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